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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


                                                          )
    In re:                                                )     Chapter 11
                                                          )
    WARDMAN HOTEL OWNER, L.L.C., 1                        )     Case No. 21-10023 (JTD)
                                                          )
                             Debtor.                      )
                                                          )
                                                         Objection Deadline: January 17, 2022 at 4:00 p.m. (ET)
                                                             Hearing Date: January 26, 2022 at 2:00 p.m. (ET)


                    NOTICE OF FILING OF FINAL FEE APPLICATION

                  PLEASE TAKE NOTICE that Pryor Cashman LLP (“PCLLP”), as special

litigation counsel to the debtor and debtor in possession (the “Debtor”), in the above-captioned

case, has filed its Final Application of Pryor Cashman LLP for Compensation and

Reimbursement of Expenses as Special Litigation Counsel to the Debtor for the Period From

January 11, 2021 Through and Including October 28, 2021 (the “Application”) seeking fees in

the amount of $150,261.00 and reimbursement of actual and necessary expenses in the amount of

$17,173.61 for the period from January 11, 2021 through October 28, 2021.

                  PLEASE TAKE FURTHER NOTICE that any objection or response to the

Application must be made in writing and be filed with the United States Bankruptcy Court for

the District of Delaware (the “Bankruptcy Court”), 824 N. Market Street, 3rd Floor, Wilmington,

Delaware 19801, on or before January 17, 2022 at 4:00 p.m. prevailing Eastern Time.

                  PLEASE TAKE FURTHER NOTICE that at the same time, you must also

serve a copy of the objection or response, if any, upon the following: (i) counsel to the Debtor,



1       The last four digits of the Debtor’s U.S. tax identification number are 9717. The Debtor’s mailing address is
5035 Riverview Road, NW, Atlanta, GA 30327.


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Pachulski Stang Ziehl & Jones LLP (Attn: Laura Davis Jones, Esq. (ljones@pszjlaw.com));

and (ii) the Office of The United States Trustee (Attn: Linda J. Casey, Esq.

(linda.casey@usdoj.gov)).

                 PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER

THE RELIEF SOUGHT IN THE APPLICATION WILL BE HELD ON JANUARY 26, 2022

AT 2:00 P.M. VIA ZOOM CONFERENCE BEFORE THE HONORABLE JOHN T. DORSEY,

UNITED STATES BANKRUPTCY JUDGE, AT THE UNITED STATES BANKRUPTCY

COURT FOR THE DISTRICT OF DELAWARE, 824 NORTH MARKET STREET, FIFTH

FLOOR, COURTROOM 5, WILMINGTON, DELAWARE 19801.

                 PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED IN THE APPLICATION WITHOUT FURTHER NOTICE OR HEARING.

 Dated: December 27, 2021                           PACHULSKI STANG ZIEHL & JONES LLP


                                                      /s/ Timothy P. Cairns
                                                    Laura Davis Jones (DE Bar No. 2436)
                                                    David M. Bertenthal (CA Bar No. 167624)
                                                    Timothy P. Cairns (DE Bar No. 4228)
                                                    919 North Market Street, 17th Floor
                                                    P.O. Box 8705
                                                    Wilmington, Delaware 19899 (Courier 19801)
                                                    Telephone: (302) 652-4100
                                                    Facsimile: (302) 652-4400
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                                                            dbertenthal@pszjlaw.com
                                                            tcairns@pszjlaw.com

                                                    Counsel to the Debtor and Debtor in Possession




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